     Case 2:16-cv-00495-GZS Document 16 Filed 03/23/17 Page 1 of 2                      PageID #: 54



                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MAINE


RAYMONDO REZENDES, on his own                 )
Behalf and on behalf of others similarly      )
situated,                                     )
                      Plaintiff,              )
                                              )                Case No. 2:16-cv-00495
v.                                            )
                                              )
LABOR READY NORTHEAST, INC.,                  )
                                              )
                      Defendant.              )

                                      NOTICE OF SETTLEMENT

       Pursuant to the status report filed on February 21, 2017, the parties have settled this matter.

Since the February 21, 2017 status report the parties have signed a settlement agreement and otherwise

consummated the settlement. Defendant Labor Ready Northeast, Inc. respectfully requests the Court

dismiss this action with prejudice and without costs.


Dated: March 23, 2017
                                                        /s/ Tawny L. Alvarez
                                                        Tawny L. Alvarez
                                                        Richard G. Moon
                                                        Verrill Dana, LLP
                                                        P. O. Box 586
                                                        Portland, ME 04112-0586
                                                        (207) 774-4000 (Telephone)
                                                        (207) 774-7499 (Fax)
                                                        talvarez@verrilldana.com
                                                        rmoon@verrilldana.com


                                                        Attorneys for the Defendant,
                                                        Labor Ready Northeast, Inc.
    Case 2:16-cv-00495-GZS Document 16 Filed 03/23/17 Page 2 of 2                     PageID #: 55




                                    CERTIFICATE OF SERVICE


        I hereby certify that on March 23, 2017, I electronically filed with the U.S. District Court in
Portland, Maine, this Notice of Settlement on behalf of Defendant, Labor Ready Northeast, Inc., and
served same upon all counsel of record via the CM/ECF System, which will send notification of such
filing.


Dated: March 23, 2017
                                                     /s/ Tawny L. Alvarez
                                                     Tawny L. Alvarez
                                                     VERRILL DANA LLP
                                                     P. O. Box 586
                                                     Portland, ME 04112-0586
                                                     (207) 774-4000 (telephone)
                                                     (207) 774-7499 (fax)




10440578_1
